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Cae

 

 

 

 

 

 

PARTICULARS OF SHIP
a NUMBER, YEAR AND PORT OF
NAME OF SHIP REGISTRY OFFICIAL NUMBER
THE ROUND 57 IN 2013, GEORGE TOWN 745127
NAME & ADDRESS OF BUILDERS TYPE OF SHIP SIGNAL LETTERS
AZIMUT BENETTI S.p.A.
BENETTI SHIPYARD PLEASURE YACHT ZGDH3
VIA M. COPPINO 104
VIAREGGIO (LU) MATERIAL USED TO CONSTRUCT HULL IMO NUMBER (IF ANY)
ITALY

 

NUMBER, YEAR AND PORT OF PREVIOUS REGISTRY (IF ANY)

GLASS REINFORCED PLASTIC

 

CZE0250 LEONARDO II PRAGUE

DATE KEEL LAID

DATE MEASURED

 

 

 

 

 

 

 

 

 

2004
PRINCIPAL DIMENSIONS
EEN EEE Ca? 27.08 THE TONNAGE(S) OF THIS SHIP IN ACCORDANCE WITH HER
BREADTH tm): 680 INTERNATIONAL TONNAGE CERTIFICATE (1969) ARE:
MOULDED DEPTH (m): 3.35 GROSS TONNAGE: 163
MOULDED DRAUGHT (m): 2.51 NET TONNAGE: 48
OVERALL LENGTH (m): 29.83 For ships under 24 metres length, the tonnage is the gross tonnage and net tonnage.

 

 

 

PARTICULARS OF ACCOMMODATION

 

NUMBER OF SEAMEN (INCLUDING APPRENTICES) FOR WHOM ACCOMMODATION IS PROVIDED: <

 

NUMBER OF PASSENGERS FOR WHOM ACCOMMODATION IS PROVIDED:

 

 

ENGINE AND BOILER PARTICULARS

 

 

 

 

 

 

DESCRIPTION OF ENGINES NAME & ADDRESS OF ENGINE MAKERS ENGINE DETAILS
MTU FRIEDRICHSHAFEN GMBH NO. OF SETS:
MTU MODEL 16V2000M91 SERIAL MAYBACHPLAZ 1 NO. OF SHAFTS. :
NO: 53610327/53610328 88040 FRIEDRICHSHAFEN
GERMANY WHEN MADE: =
NUMBER OF CYLINDERS IN EACH SET DIAMETER OF CYLINDERS (mm) LENGTH OF STROKE (mm)

 

 

DESCRIPTION OF BOILERS

NAME & ADDRESS OF BOILER MAKERS

BOILER DETAILS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NUMBER: is
a = WORKING PRESSURE: -
WHEN MADE: “
ADDITIONAL PARTICULARS
ESTIMATED BRAKE POWER (kW) ESTIMATED SPEED OF SHIP (knots) METHOD OF PROPULSION
0 0 TWIN SCREW
NAME AND ADDRESS OF THE OWNER NUMBER OF SIXTY-FOURTH SHARES
VIOLET ADVISORS, S.A. ae oe 64 SHARES
PANAMA CITY
REPUBLIC OF PANAMA CAYMAN ISLANDS
SHIPPING REGISTRY Z
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DATED AT GEORGE TOWN, CAYMAN ISLANDS ON 6 JUNE 2013.

REGISTRAR OF BRITISH SHIPS

 

NOTICE: A Certificate of Registry is not a document of Title. It does not necessarily contain notice of all changes of awnership, and in no case does it contain an official record of any
mortgages affecting the ship. In case of any change of ownership it is important for the protection of the interests of all parties that the change should be registered according to law.
Changes of ownership, address or other registered particulars should be notified to the Registrar at the Port of Registry. Should the Vessel be lost, broken up, or cease to be entitled to be
registered in the Cayman Islands, notice thereof, together with the Certificate of Registry, if in existence, should within 30 days be given to the Registrar of Shipping at George Town in the

Cayman Islands under a penalty for default.

NOTE: For the purpose of this Certificate, when a Pleasure Yacht is engaged in trade (by carrying passengers for hire, reference SOLAS Chapter 1, Part A, Regulation a)(v}) it may

also be referred to. as a Commercial Vessel,

 
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